[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.] ORDER
The foregoing application having been heard by the court, it CT Page 5840 is hereby ORDERED that the application is GRANTED under the following express conditions:
    1)   Catherine Rogers, attorney, and a member of the Connecticut Bar, will sign all pleadings, briefs, and other papers filed by plaintiff with this court; and will assume full responsibility for the foregoing and for the conduct of the cause of Michael J. DeMattea.
    2)   Catherine Rogers shall be responsible for payment of any lawful clerks fees or court reporters' fees incurred but left unpaid by Mr. DeMattea.
    3)   Service of any pleading on Catherine Rogers shall be deemed compliance by any other party with the rules of practice requiring service on any party opponent.
    4)   Michael J. DeMattea will be subject to all rules of the court and noncompliance with any of them will subject him to the termination of his limited admission to appear before the court in this case. This includes but is not limited to service of pleadings on opposing parties.
    5)   Catherine Rogers shall not ask the court to be relieved of the requirement that she familiarize herself with this matter and be personally present for all legal proceedings.
    6)   Within seven days of the date of this order, Catherine Rogers shall file with the court a certificate of good standing from the judicial authority of the State of New York indicating that Michael J. DeMattea is a member in good standing of the Bar of the State of New York and has no record of disciplinary action against him by the judicial authority of the State of New York.
    7)   The said Michael J. DeMattea shall also file an affidavit that he has not been disciplined after being admitted to practice in any state or being permitted to practice pro hac vice.
Flynn, J.